      Case 1:18-cr-00120-LJV-MJR Document 693 Filed 11/06/20 Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

 UNITED STATES OF AMERICA,

     v.                                                 18-CR-120-LJV
 DANNY W. MICHAEL, III,                                 DECISION & ORDER

            Defendant.
___________________________________


      1. On July 22, 2020, the defendant, Danny W. Michael, III, pleaded guilty to

Counts 1 and 2 of the superseding information charging violations of Title 21, United

States Code, Section 846 (conspiracy to possess with intent to distribute at least 5

grams of methamphetamine and conspiracy to distribute that substance) (Count 1), and

Title 18, United States Code, Section 922(g)(1) (possession of a firearm and

ammunition by a felon) (Count 2). Docket Item 576.

      2.     On July 22, 2020, the Honorable Michael J. Roemer, United States

Magistrate Judge, filed a Report & Recommendation recommending that the

defendant’s pleas of guilty be accepted and that the defendant be adjudged guilty.

Docket Item 592.

      3. This Court has not received objections to the Report & Recommendation in

accordance with Title 28, United States Code, Section 636(b)(1), and Rule 59(b) of the

Federal Rules of Criminal Procedure, and the time to object now has expired.

      4. This Court has carefully reviewed de novo Judge Roemer’s

Report & Recommendation (docket item 592), the plea agreement (docket item 576),

the superseding information (docket item 575), a transcript of the plea proceeding held

via Zoom for government (docket item 657), and the applicable law. This Court finds no
      Case 1:18-cr-00120-LJV-MJR Document 693 Filed 11/06/20 Page 2 of 2




legal or factual error in Judge Roemer’s Report & Recommendation and therefore

adopts Judge Roemer’s recommendation that the defendant’s pleas of guilty be

accepted and that the defendant be adjudged guilty of Counts 1 and 2 of the

superseding information.

         IT IS HEREBY ORDERED that this Court adopts Judge Roemer’s July 22, 2020

Report & Recommendation, Docket Item 592, in its entirety, including the authorities

cited and the reasons given therein, and it is further

         ORDERED that the Court accepts the defendant’s pleas of guilty and defers

acceptance of the plea agreement pursuant to Sentencing Guidelines Section 6B1.1(c),

and the defendant, Danny W. Michael, III, is now adjudged guilty under Title 21, United

States Code, Section 846, and Title 18, United States Code, Section 922(g)(1).



         SO ORDERED.

Dated:         November 6, 2020
               Buffalo, New York



                                               s/ Lawrence J. Vilardo
                                              LAWRENCE J. VILARDO
                                              UNITED STATES DISTRICT JUDGE




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